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IN THE COUNTY/DISTRICT COURT IN AND FOR
THE COUNTY OF PUEBLO AND STATE OF COLORADO

Criminal Action Number
-Division

STATE OF COLORADO APPLICATION AND AFFIDAVIT
8S. - FOR
COUNTY OF PUEBLO SEARCH WARRANT

The undersigned, being first duly sworn, upon oath, deposes and says:

1. That this affidavit is made in support of an application for a Search Warrant to search
the following premises, person(s), motor vehicle or things(s), to-wit:

1603 North Ogden Ave. Pueblo, Colorado, a single family dwelling, any out buildings
and vehicles on the property, and Michael Anthony ROMERO (D.O.B. 11/19/58), now located
within Pueblo County, Colorado.

2. That the person(s), property, motor vehicle or thing(s) to be searched for, and seized if
found (Mark “X” according to fact):

( ) Is stolen or embezzled;
AND/OR

(X) Is designed or intended for use as a means of committing a criminal offense;
or is or has been so used;
AND/OR
(X) Is illegal to possess;
AND/OR
(X) Would be material evidence in a subsequent criminal prosecution. -

3. The property or things to be searched for are:

A Controlled Substance (COCAINE) as defined in Colorado Revised Statutes 18-18-204
and 18-18-405, as amended, together with such vessels, implements and furniture in which such
drugs are found, and the vessels, implements, and furniture used in connection with the personal
property tending to establish the identity of persons in control of contraband, related
paraphernalia, consisting in part and including, but not limited to, utility company receipts rent
receipts financial records, canceled mail envelopes, photographs, keys and monies related to the
foregoing illegal activities.

4. That additional facts submitted for this application are set out in an accompanying
attachment incorporated herein by reference and made a part hereof as though fully set out herein
and designed as “Attachment A”,

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NOW, THEREFORE, the undersigned Applicant moves this Court for the issuance of a
Search Warrant for the address or location named or described above for the search and seizure
of the above-described person(s), property, motor vehicle, or thing(s).

" Detective Mark Cannon

The foregoing application and affidavit was subscribed and sworn to or affirmed before
me this 8th day of January, A.D. 2003.

BY THE COURT:

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JUDGE

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ATTACHMENT “A”

The facts establishing grounds for the issuance of.a search warrant, and showing probable
cause to believe they exist, are as follows:

Affiant herein, Detective Mark Cannon, being first duly sworn upon his oath, deposes and
states as follows:

Affiant is and was at all material times herein employed as a detective for the Support
Services Division-Narcotic Unit of the City of Pueblo, Colorado, Police Department and now
assigned to a unit named the Southern Colorado Drug Task Force.

All events and locations mentioned in this affidavit are located in Pueblo County,
Colorado unless other wise described.

On January 7", 2003 Affiant was contacted by a Confidential Reliable Informant, Herein
referred to as CI, who told Affiant that Mike Romero is selling cocaine and that the CI saw 5 %

kilograms of cocaine at his residence at 1603 North Ogden Ave. in Pueblo, Colorado on January
6" 2003.

The CI told Affiant that the CI knows what cocaine is, as the CI has purchased and used
cocaine in the past, and knows how it is packaged for sale.

The CI has worked as an informant for. Sergeant Lancendorfer and Sergeant Hasci of the
Pueblo Police Department since 1991. Since that time the CI has provided information, which
resulted in the seizer of marijuana, cocaine, and methamphetamine, which lead to the arrest and
prosecution of several suspected drug dealers. Sergeant Hasci said the latest information he

received from the CI was in 1995 and the CI’s information lead to the seizer of 12 pounds of
marijuana.

The CI said on 01-06-2003 the CI was inside the residence at 1603 North Ogden Ave. and
the person the CI believed to be the owner of the residence offered to sell the CI cocaine, The
owner of the residence was later identified as Michael ROMERO DOB. 11-19-1958. While the

CI was inside the residence; the CI saw 5 % kilograms of what appeared to the CI as cocaine and
Mike ROMERO said it was cocaine.

The CI later left the residence and did not purchase any of the cocaine that was offered to
the CI. The CI does have knowledge that Mike ROMERO operates a used car business in
Pueblo, Colorado. The CI said ROMERO is also the source of supply of cocaine for several ”
other cocaine dealers in the Pueblo area. The CI also said that the CI knows several people who
use cocaine and these people have said Michael ROMERO is their source of supply for cocaine.

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Affiant checked the Colorado Drivers License Computer Files and found that Michael
Anthony ROMERO (D.O.B. 11 /19/58) has a valid Colorado Drivers License and he lists his
address as 1603 North Ogden Ave. in Pueblo, Colorado on his driver’s license.

A criminal history check done on Michael ROMERO revealed that in 1989 the Colorado
Springs Metro Narcotics Unit made several undercover cocaine buys from Michael ROMERO
and he was arrested. On 03-08-96 Michael Romero was again arrested and charged with
Possession of Methamphetamine with Intent to Distribute.

On 04-15-00 information was received from a reliable Pueblo Police Department
informant that Michael ROMERO was observed selling cocaine on his used car lot to an unknown
person. Information was also received that ROMERO will use the used cars that he sells to
transport illegal drugs from out of state to Pueblo.

On 03-30-01 information from a different Pueblo Police Department Reliable informant
said that Michael Romero is selling cocaine.

Through training and experience Affiant has learned that cocaine and is a high volume
drug and is easily disposed of. Drug dealers/users will often package cocaine in small plastic or
paper packages and conceal the illegal drug on their person. Concealing the drug on ones person
allows the drug dealer/user to readily sell the drug, and in the event of detection, will allow the
dealer/user to dispose of the drug in a sink or toilet or by swallowing it.

Affiant also knows through training and experience that drug dealers will often make
deliveries of cocaine to other customers and utilize a vehicle to get to those locations. Because of
this, a drug dealer will use a vehicle as a stash location to hide their illegal drugs. Drug dealers

will also use any other buildings or sheds on their property to hide their illegal drugs in an attempt
to prevent detection.

Affiant has been a police officer for over 14 years and is currently assigned to the
Southern Colorado Drug Task Force. Affiant has also received specialized training from the
United States Army in the detection, packaging, and identification of illegal narcotics, including
cocaine. Affiant has received training by the Department of the Treasury U.S. Customs Service
which taught Affiant the identification, packaging for sale and testing of illegal drugs including
cocaine. Affiant has also received basic narcotics investigation training from the Drug
Enforcement Administration.

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Based on the above information, Affiant requests that a search warrant be issued for 1603
North Ogden Ave, Pueblo, Colorado, a single family dwelling, any out buildings and vehicles on
the property, and Michael Anthony ROMERO (D.O.B. 11/19/58), now located within Pueblo

County, Colorado.

Detective Mark Cannon

SUBSCRIBED AND SWORN to before me this 8th day of January, A.D. 2003.

Sx bee

JUDGE

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IN THE COUNTY/DISTRICT COURT IN AND FOR
THE COUNTY OF PUEBLO AND STATE OF COLORADO

Criminal Proceeding Number
Division

SEARCH WARRANT

THE PEOPLE OF THE STATE OF COLORADO

TO: ANY PEACE OFFICER AUTHORIZED BY LAW TO EXECUTE SEARCH
WARRANTS IN THE ABOVE NAMED COUNTY, GREETINGS:

WHEREAS, Detective Mark Cannon has made an affidavit and complaint for the issuance
of a search warrant, and

WHEREAS, the affidavit of the applicant seems proper and it appears that reasonable

grounds or probable cause exists for the issuance of a search warrant for the reason(s) marked
with an “X” below: ,

The property to be searched for, and seized if found:

( ) Is stolen or embezzled;
AND/OR

(X) Is designed or intended for use as a means of committing a criminal offense;
or is or has been so used; ,

AND/OR
(X) Is illegal to possess;
AND/OR

(X) Would be material evidence in a subsequent criminal prosecution.
WE THEREFORE COMMAND YOU, with the necessary and proper assistance to search

at any time the following premises, person(s), motor vehicle, or thing(s), within the next ten (10)
days, to-wit:

1603 North Ogden Ave. Pueblo, Colorado, a single family dwelling, any out buildings

and vehicles on the property, and Michael Anthony ROMERO (D.O.B. 11/1 9/58), now located
within Pueblo County, Colorado.

’ And you will search for the following property or things, to-wit:

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A Controlled Substance (COCAINE) as defined in Colorado Revised Statutes 18-18-204
and 18~18-405, as amended, together with such vessels, implements, and furniture in which such
drugs are found, and the vessels, implements, and furniture used in connection with the
manufacture, production, or dispensing of such drugs, and articles of personal property tending to
establish the identity of persons in control of contraband, related paraphernalia, consisting in part
and including, but not limited to, utility company receipts, rent receipts, financial records,
canceled mail envelopes, photographs, and monies related to the foregoing illegal activities,

And if the same or any part thereof is found, that you seize the goods property and things found
and safely keep them until further order of this Court, or until they are admitted into any criminal

proceedings conducted by a court of this state; and that you further file a report which inventories

the goods and things which were found and seized or reporting that nothing was so found and
seized with this Court.

This 8th day of January, A.D. 2003.

BY THE COURT:

JUDGE

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